      Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 L.F.R. CARLI & CIA, LTDA.,                 §
 Plaintiff/Counter-Defendant,               §
 v.                                         §
                                            §
 PACIFIC LUMBER RESOURCES, INC.,            §
 Defendant/Counter-Plaintiff,               §
                                            §
 and                                        §
 CARGOWAYS WAREHOUSING &                    §
 TRUCKING COMPANY INC.; SUPPLY              §
                                                Civil Action No. 4:22-cv-03582
 CHAIN MANAGEMENT, LLC; and                 §
 CARIBBEAN TRADING ENTERPRISES,             §
 INC., d/b/a OMNI TRANSLOADING AND          §
 LOGISTIC,                                  §
 Defendants.                                §
                                            §
                                            §
                                            §
                                            §
 PACIFIC LUMBER RESOURCES, INC.,
                                            §
 Third-Party Plaintiff,
                                            §
                                            §
                                            §
 v.
                                            §
 BENJAMIN W. GALLINGER AND                  §
 INTERNATIONAL FOREST PRODUCTS,             §
 LLC.                                       §
                                            §
 Third-Party Defendants.

INTERNATIONAL FOREST PRODUCTS, LLC’S RENEWED MOTION TO DISMISS
PACIFIC LUMBER RESOURCES, INC.’S AMENDED THIRD-PARTY COMPLAINT




                                        1
     Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 2 of 12




                          NATURE AND STAGE OF PROCEEDING

       On October 17, 2022, L.F.R. Carli & CIA, LTDA. (“Carli”) filed its Complaint against

Pacific Lumber Resources, Inc. (“Pacific Lumber”) and three other defendants relating to Pacific

Lumber’s performance under an agreement concerning the importation and distribution of

plywood. (ECF No. 1, “Compl.”). On December 14th, Pacific Lumber filed its Counterclaim

against Carli (ECF No. 26, “Counterclaim”) and then, on December 28th, Pacific Lumber filed its

Third-Party Complaint against Benjamin Gallinger (ECF No. 32). On January 25, 2023, after

receiving leave of court, Pacific Lumber amended its Third-Party Complaint (ECF No. 38, “Third-

Party Compl.”) to include International Forest Products, LLC (“International Forest”) as a third-

party defendant to this litigation. In response, International Forest filed a Motion to Dismiss the

Third-Party Complaint (ECF No. 54) pursuant to Federal Rule of Civil Procedure 12(b)(2) because

Pacific Lumber failed to demonstrate that International Forest is subject to the personal jurisdiction

of this Court.

       On April 14, 2023, Pacific Lumber filed its First Amended Third-Party Complaint against

International Forest (ECF No. 58) in a failed effort to cure the jurisdictional deficiencies addressed

in International Forest’s Motion to Dismiss. International Forest renews its Motion to Dismiss.

                            ISSUE AND STANDARD OF REVIEW

       International Forest files this Renewed Motion to Dismiss Pacific Lumber’s Amended

Third-Party Complaint pursuant to Federal Rule of Civil Procedure 12(b)(2). The issue remains

whether International Forest has availed itself to the personal jurisdiction of this Court. Orders

concerning personal jurisdiction are reviewed de novo. See Submersible Sys., Inc. v. Perforadora

Cent., S.A. de C.V., 249 F.3d 413, 417–18 (5th Cir. 2001).




                                                  2
     Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 3 of 12




                             SUMMARY OF THE ARGUMENT

       International Forest is a physical trader of forest product commodities. It is neither formed

under Texas law nor headquartered in Texas. Notwithstanding, International Forest has been sued

in Texas by Pacific Lumber—a lumber distributor—based on half-baked contentions that

International Forest has somehow misappropriated its trade secrets, interfered with customer

contracts, and conspired to misappropriate trade secrets and to interfere with customer contracts.

Am. Third-Party Compl. ¶¶ 90-101, 102-110, 111-117, 118-121. Critically absent from Pacific

Lumber’s Amended Third-Party Complaint is any allegation that International Forest

misappropriated any trade secrets in Texas, interfered with any customer contracts in Texas, or

entered into any conspiracy to do same in Texas.

       In reality, the only connection this litigation has to Texas is the contract between Pacific

Lumber and Carli, and their performance under that contract, as detailed in the Complaint and

Cross-Complaint exchanged between those two entities. As alleged, in January 2022, Pacific

Lumber and Carli entered into an agreement for Pacific Lumber to import and distribute Brazilian

pine plywood products in the United States. Compl. ⁋⁋ 9-10. Between January and May 2022,

Pacific Lumber received the plywood products from Carli at several U.S. ports, including, but not

limited to, the Port of Houston. Id. ⁋⁋ 13-17. Pacific Lumber then stored the plywood products at

three separate warehouses throughout the United States, including, but not limited to, a warehouse

in Houston—and numerous disputes ensued. Id. The Amended Third-Party Complaint remains

devoid of any allegation that International Forest decided to ship the lumber to any port in Texas

or to store the lumber at any warehouse in Texas.

       Still, Pacific Lumber has sued International Forest in Texas, attempting to shift the focus

from its alleged non-compliance under its contract with Carli. Indeed, Pacific Lumber expressly




                                                 3
     Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 4 of 12




acknowledges that International Forest is a “limited liability company formed under the laws of

Massachusetts . . . [and] has only one member who is a citizen of Massachusetts.” Am. Third-

Party Compl. ⁋ 6. Even after amending its operative pleading, Pacific Lumber still fails to assert

any general personal jurisdiction allegations as to International Forest. Nor does Pacific Lumber

assert any specific personal jurisdiction allegations demonstrating that its claims are based on

purposeful contacts that International Forest has made with Texas. Rather, Pacific Lumber

continues to focus on its own Texas contacts and the Texas contacts of Gallinger as one of its

former contractors. But these contacts by Pacific Lumber and Gallinger are of no consequence in

determining whether International Forest has purposefully availed itself of jurisdiction in Texas.

Other-party contacts do not move the jurisdictional needle.

       For these reasons, the Court lacks general and specific personal jurisdiction over

International Forest and Pacific Lumber’s claims against International Forest should be dismissed.

                                          ARGUMENT

A.     Legal Standard

       “A federal court sitting in diversity may exercise personal jurisdiction over a non-resident

defendant (1) as allowed under the state’s long-arm statute; and (2) to the extent permitted by the

Due Process Clause of the Fourteenth Amendment.” Mullins v. TestAmerica, Inc., 564 F.3d 386,

398 (5th Cir. 2009) (quoting Johnston v. Multidata Sys. Int’l Corp., 523 F.3d 602, 609 (5th Cir.

2008)). “Because the Texas long-arm statute extends to the limits of federal due process, the two-

step inquiry collapses into one federal due process analysis.” Id. To satisfy the requirements of

due process, the plaintiff must demonstrate: “(1) that the non-resident purposely availed [itself] of

the benefits and protections of the forum state by establishing minimum contacts with the state;

and (2) that the exercise of jurisdiction does not offend traditional notions of fair play and




                                                 4
     Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 5 of 12




substantial justice.” Id. “Minimum contacts” may give rise to general jurisdiction or specific

jurisdiction. Frank v. P N K (Lake Charles) LLC, 947 F.3d 331, 337 (5th Cir. 2020) (quotation

omitted).

       A court may exercise general jurisdiction over a non-resident defendant when the

defendant’s “affiliations with the State are so continuous and systematic as to render them

essentially at home in the forum State.” Id. (quoting Goodyear Dunlop Tires Operations, S.A. v.

Brown, 564 U.S. 915, 919 (2011). An entity is “at home” in two paradigm forums: “(1) the state

of incorporation and (2) the state where it has its principal place of business.” Id. (citing BNSF

Ry. Co. v. Tyrrell, 137 S. Ct. 1549, 1558, 198 L.Ed.2d 36 (2017)). Courts routinely use the term

“corporation” when discussing general jurisdiction for both incorporated and non-incorporated

business entities. See, e.g., Frank, 947 F.3d 331, 338 n.10 (5th Cir. 2020) (“[T]he entity type is

not germane to this jurisdictional analysis; instead it is the company’s domicile that merits

attention.”). In an “exceptional case,” “a corporate defendant’s operations in another forum ‘may

be so substantial and of such a nature as to render the corporation at home in that State.’” Tyrrell,

137 S. Ct. at 1558 (quoting Daimler AG v. Bauman, 571 U.S. 117, 139 n.19 (2014)). But “it has

become ‘incredibly difficult to establish general jurisdiction in a forum other than the place of

incorporation or principal place of business.’” Frank, 947 F.3d at 336 (quoting Monkton Ins.

Servs., Ltd. v. Ritter, 768 F.3d 429, 432 (5th Cir. 2014)).

       In contrast to general jurisdiction, specific jurisdiction “focuses on the relationship among

the defendant, the forum, and the litigation. For a State to exercise jurisdiction consistent with due

process, the defendant’s suit-related conduct must create a substantial connection with the forum

State.” Monkton, 768 F.3d at 432–33 (quoting Walden v. Fiore, 571 U.S. 277, 284 (2014)). The

court may exercise specific jurisdiction only if (1) “the defendant has minimum contacts with the




                                                  5
     Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 6 of 12




forum state”—that is, if the defendant “purposely directed its activities toward the forum state or

purposefully availed itself of the privileges of conducting activities there”; (2) “the plaintiff’s cause

of action arises out of or results from the defendant’s forum-related contacts”; and (3) “the exercise

of personal jurisdiction is fair and reasonable.” Id. at 433 (quotation omitted). As to the first

requirement, the “defendant’s relationship with a plaintiff or third party, standing alone, is an

insufficient basis for jurisdiction.” Walden, 571 U.S. at 286. Rather, the defendant’s conduct must

connect it “to the forum in a meaningful way.” Id. at 290.

B.      International Forest Is Not Subject to the General Jurisdiction of this Court.

        Pacific Lumber acknowledges that International Forest “is a limited liability company

formed under the law of Massachusetts . . . [and] has only one member who is a citizen of

Massachusetts.” Third-Party Compl. ⁋ 6. Despite amending its operative complaint, Pacific

Lumber still fails to plead any jurisdictional allegations that would demonstrate that International

Forest is formed under the laws of Texas, headquartered in Texas, or otherwise “at home” in Texas.

At best, Pacific Lumber contends that International Forest has registered to do business in Texas,

maintains sales representation in Texas, and maintains product sourcing infrastructure in Texas.

Third-Party Compl. ¶¶ 70–71. But even these allegations, even if taken as true, do not come close

to demonstrating that International Forest is “at home” in Texas or otherwise subject to the general

jurisdiction of this Court. See Frank, 947 F.3d at 336 (“[I]t has become ‘incredibly difficult to

establish general jurisdiction in a forum other than the place of incorporation or principal place of

business.’”); Fiduciary Network, LLC v. Buehler, No. 3:15-CV-0808, 2015 WL 2165953, at *6

(N.D. Tex. May 8, 2015) (“[T]he Fifth Circuit has made it clear that the appointment of an agent

for service of process and the application to do business are afforded no special weight [in the

general jurisdictional analysis.]”) (citing Wenche Siemer v. Learjet Acquisition Corp., 966 F.2d




                                                   6
     Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 7 of 12




179, 183 (5th Cir. 1992)); Aziz v. MMR Group, Inc., No. H-17-3907, 2018 WL 3439637, at *4

(S.D. Tex. July 17, 2018) (finding a lack of general jurisdiction even where the “Defendants

own[ed] facilities, employ[ed] workers, and continuously operate[d] in the forum, but [we]re

incorporated and ha[d] their principal places of business in another state”).

C.     International Forest Is Not Subject to the Specific Personal Jurisdiction of this Court.

       Specific personal jurisdiction exists only when a nonresident defendant has “purposefully

directed its activities” toward Texas or “purposefully availed itself of the privileges of conducting

activities there.” See Monkton, 768 F.3d at 433. Again, specific jurisdiction “focuses on the

relationship among the defendant, the forum, and the litigation.” Id. Through its Amended Third-

Party Complaint, Pacific Lumber fails to plead any allegations establishing any connection

between Texas, International Forest, and the claims asserted against International Forest.

       While Pacific Lumber vaguely contends that Gallinger disclosed Pacific Lumber’s trade

secrets to International Forest and that International Forest misused same, Am. Third-Party Compl.

¶¶ 63, 66, 72, 90-101, Pacific Lumber fails to plead that International Forest’s receipt of such

unidentified trade secrets and alleged misuse of same took place in Texas. While Pacific Lumber

vaguely contends that International Forest tortiously interfered with its contract with Canyon and

other “third parties,” Am. Third-Party Compl. ¶¶ 102-110, Pacific Lumber fails to plead that

International Forest was in Texas when it allegedly interfered with the contract for Canyon, which

is based in Tijuana, Mexico, or for the other unidentified third parties. And while Pacific Lumber

vaguely contends that Gallinger, International Forest, and Carli conspired to misappropriate trade

secrets and interfere with contracts by “divis[ing] a scheme” to do same, Am. Third-Party Compl.

¶¶ 111-17, 118-21, Pacific Lumber fails to plead that International Forest was in Texas when it




                                                 7
     Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 8 of 12




purportedly devised any such scheme or was otherwise in Texas when it purportedly executed such

scheme.

       At best, Pacific Lumber’s only allegation about Texas concerns its own receipt of plywood

products at the Port of Houston and its own storage of same in a Houston warehouse—contacts

resulting from its own performance under the agreement with Carli. Pacific Lumber’s purposeful

contacts with Texas, however, provide no basis for the Court to exercise jurisdiction over

International Forest. Indeed, the U.S. Supreme Court has made clear that the only contacts that

matter in the specific jurisdiction framework are those between the defendant and the forum state;

plaintiff’s and other third party’s contacts cannot be taken into consideration. See Walden v. Fiore,

571 U.S. 277, 284 (2014) (“We have consistently rejected attempts to satisfy the defendant-

focused ‘minimum contacts’ inquiry by demonstrating contacts between the plaintiff (or third

parties) and the forum State.”).

       Apparently recognizing the lack of any connection between Texas and International Forest,

and the claims asserted against International Forest, Pacific Lumber attempts a second

jurisdictional sidestep that has been rejected at every level of review. Instead of focusing on any

relevant jurisdictional contacts between International Forest and Texas, as there are none, it

attempts to focus on those between Gallinger and this state. See Am. Third-Party Compl. ¶¶ 62-

89. But the jurisdictional contacts allegedly made between another party (like Gallinger) cannot

establish jurisdiction over International Forest, as “it is the defendant, not the plaintiff or third

parties, who must create contacts with the forum state.” Walden, 571 U.S. at 291. The U.S.

Supreme Court has affirmed, time and again, that the Court should ignore jurisdictional allegations

centered upon the plaintiff or third parties rather than the defendant. See, e.g., id. at 284 (“First,

the relationship must arise out of contacts that the defendant himself creates with the forum State.




                                                  8
     Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 9 of 12




. . . We have consistently rejected attempts to satisfy the defendant-focused ‘minimum contacts’

inquiry by demonstrating contacts between the plaintiff (or third parties) and the forum State.”)

(emphasis in original; internal citations and quotations omitted).

       Pacific Lumber’s focus on the jurisdictional contacts of persons and entities other than the

defendant has been repeatedly rejected as insufficient to confer personal jurisdiction over the

defendant in a variety of contexts—including cases involving allegations of trade secret

misappropriation. For example, in Gold Medal Products Co. v. Bell Flavor and Fragrances Inc.,

the plaintiff alleged under the Defend Trade Secrets Act that the defendant had wrongly acquired

trade secrets through the hiring of plaintiff’s former employee. No. 1:16-CV-00365, 2017 WL

1365798, at *1 (S.D. Ohio Apr. 14, 2017). The plaintiff sought to invoke personal jurisdiction

over the defendant based on: (i) the plaintiff’s own contacts; and (ii) the contacts of the plaintiff’s

former employee, who had since become an employee of the defendant—exactly as Pacific

Lumber attempts to do here. Id. at *6. Specifically, the plaintiff in Gold Medal alleged that

personal jurisdiction over the defendant (an Illinois corporation) was appropriate in Ohio because:

(1) the employee who joined the defendant had previously been employed by the plaintiff in Ohio;

(2) that employee obtained the trade secrets in question in Ohio; and (3) the defendant

misappropriated such trade secrets knowing the injury would be felt by the plaintiff in Ohio. Id.

On their face, the jurisdictional allegations in Gold Medal were substantially more meaningful

than those made in the Amended Third-Party Complaint, yet they still failed.

       As the Gold Medal court noted, allegations about the contacts of the plaintiff—including

allegations about where the plaintiff claims to have suffered injury—play no part in the Court’s

analysis of whether there is jurisdiction over the defendant. Id. (“The Supreme Court in Walden

‘rejected’ the theory that personal jurisdiction can be based on intentional acts taken outside a




                                                  9
    Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 10 of 12




forum state which the defendant knows will cause effects inside the forum state.”). As a result,

the Court dismissed the trade secrets claim for lack of personal jurisdiction. Id.; see also Park

Lawn Corp. v. Plotbox, Inc., No. 4:20-CV-2248, 2020 WL 13441621, at *3 (S.D. Tex. Oct. 29,

2020) (finding under similar circumstances that the plaintiff failed to “sufficiently established a

relationship between Defendant, its business operations in Texas, and this litigation”). The same

result must occur here.

       Pacific Lumber amended its operative complaint against International Forest in an effort

to cure the jurisdictional deficiencies addressed in International Forest’s initial Motion to Dismiss.

The vast majority of the new allegations that Pacific Lumber advances are duplicative of those it

has previously advanced before this Court, see Am. Third-Party Compl. ¶¶ 67, 71, 72, which

provide no basis for asserting personal jurisdiction over International Forest. The Amended Third

Party Complaint now also asserts speculative and conclusory allegations that International Forest

“acted to disrupt and interfere with” Pacific Lumber’s sales of the disputed wood and, “upon

information and belief,” that International Forest “used its Texas infrastructure to execute this

scheme.” Id. ¶¶ 68-69. Pacific Lumber fails entirely to identify the information on which it basis

this purported belief, almost certainly because it has none, and these speculative allegations fail to

provide this Court with any grounds to maintain personal jurisdiction over International Forest.

See Panda Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 869 (5th Cir. 2001)

(finding allegations based on “information and belief” to be conclusory and insufficient to support

specific jurisdiction finding); Alexander v. Greenwood Hall, Inc., No. 4:18-CV-04540, 2019 WL

12336300, at *3 (S.D. Tex. Aug. 14, 2019) (“[T]he law does not require [courts] to credit

conclusory [jurisdictional] allegations or draw farfetched inferences” or otherwise “credit

conclusory allegations, even if uncontroverted”) (internal citation and quotation marks omitted).




                                                 10
    Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 11 of 12




       Pacific Lumber does not provide this Court with any basis to find that International Forest

has availed itself of this forum. Despite Pacific Lumber’s amendments, the Amended Third-Party

Complaint continues to lack any allegation that International Forest took actions in Texas to

misappropriate any trade secrets, interfere with any contracts, or conspire to do same. As a result,

there are no allegations connecting International Forest’s conduct “to the forum in a meaningful

way.” Walden, 571 U.S. at 286; see also Diebold Election Sys., Inc. v. AI Tech., Inc., 562 F. Supp.

2d 866, 875 (E.D. Tex. 2008) (“DESI has alleged that it suffered harm (presumably in Texas, its

home state) as a result of the Defendants’ tortious activities. This differs from the necessary

‘purposeful direct[ion]’ of the Defendants’ acts toward the State of Texas.”).

                                         CONCLUSION

       For the foregoing reasons, International Forest respectfully requests that the Court grant its

Renewed Motion to Dismiss and dismiss all claims asserted against it with prejudice.



Dated: April 28, 2023                 Respectfully submitted,

                                      /s/ Nancy L. Patterson
                                      Nancy L. Patterson
                                      State Bar No. 15603520
                                      Email: nancy.patterson@morganlewis.com
                                      John P. Bramble
                                      State Bar No. 24101544
                                      Email: john.bramble@morganlewis.com
                                      MORGAN LEWIS & BOCKIUS LLP
                                      1000 Louisiana Street, Suite 4000
                                      Houston, TX 77002
                                      T: 713.890.5000
                                      F: 713.890.5001

                                      ATTORNEYS FOR THIRD-PARTY DEFENDANT,
                                      INTERNATIONAL FOREST PRODUCTS, LLC




                                                11
    Case 4:22-cv-03582 Document 60 Filed on 04/27/23 in TXSD Page 12 of 12




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been filed on April 28,
2023, via the Court’s e-filing system.

                                                    /s/ John P. Bramble
                                                    John P. Bramble




                                               12
